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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO

Civil Action No. 19-cv-1857-RBJ

ANDREW COLWELL,

         Plaintiff,

v.

IHEARTMEDIA, INC.,

         Defendant.


                         UNOPPOSED MOTION TO STAY PROCEEDINGS



           Defendant iHeartMedia, Inc. (“iHeartMedia”)1 by and through its undersigned

    counsel, hereby submits this Unopposed Motion to Stay Proceedings pending

    resolution in Colwell v. Eleven Creative Services LLC, Civil Action No. 18-cv-2784-

    CMA-STV, as follows:

                         Certificate of Compliance with D.C.COLO.LCivR 7.1(a)

           Counsel for moving party has conferred with opposing counsel regarding this

    Motion to Stay Proceedings and opposing counsel has indicated they do not oppose.

                                                        Background

           On June 28, 2019, iHeartMedia was served notice of this action by Plaintiff in

    this action (“Plaintiff” or “Colwell”), based on claims of copyright infringement under


1
  iHeartMedia, Inc. is not the entity owning the assets at issue in this case and has no other interest legal or otherwise
in this dispute. iHeartMedia, Inc. reserves all rights, arguments and defenses in this case.
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Section §501 of the Copyright Act and removal and/or copyright management

information under Section §1202(b) of the Digital Millennium Copyright Act.

       In the Complaint, Colwell alleges that iHeartMedia “copied the photograph

from the Denver Post.” However, iHeartMedia did not copy the photograph in

question, but rather received the photograph by email directly from Eleven Creative

Services, LLC (“11Creative”) Co-Founder Lacey Spruce on April 26, 2018, attached

hereto as Exhibit 1. 11Creative possessed the right to use and distribute the

photograph at their sole discretion.

       The ownership, licensing and display rights to the photograph in question are

currently being litigated in Colwell v. Eleven Creative Services LLC, Civil Action No.

18-cv-2784-CMA-STV, and the outcome of that case will have a direct impact on the

validity of the claims in this action.

       If it is determined that 11Creative does have the right to distribute and display

the photograph in question, Colwell will not have standing to bring his claims against

iHeartMedia.

       Therefore, in the interest of judicial economy, efficiency and consistency,

iHeartMedia hereby respectfully requests that the Court stay proceedings in this

matter pending the outcome of Colwell v. Eleven Creative Services LLC, Civil Action

No. 18-cv-2784-CMA-STV, as the outcome will directly impact these proceedings.
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                                         Legal Authority

       The power to stay proceedings is incidental to the power inherent in every

court to control the disposition of the cases on its docket with economy of time and

effort for itself, for counsel, and for litigants." Landis v. North American Co., 299 U.S.

248, 254-255, 57 S. Ct. 163, 166, 81 L. Ed. 153 (1936). A court’s discretion should

be exercised in light of a number of non-dispositive factors, including, but not limited

to (1) plaintiff's interest in proceeding expeditiously, and the prejudice to plaintiff of a

delay; (2) the burden on defendants; (3) the convenience of the court; (4) the

interests of non-parties in resolution of the case; and (5) the public interest. See

String Cheese Incident, LLC v. Stylus Shows, Inc., 2006 U.S. Dist. LEXIS 97388,

2006 WL 894955, at 2 (D. Colo. March 30, 2006). When the outcome of another

case will be “determinative of a large portion of this action… judicial economy

warrants judicial patience”. Hawg Tools, Ltd. Liab. Co. v. Newsco Int'l Energy Servs.,

Civil Action No. 14-cv-03011-REB-MJW, 2015 U.S. Dist. LEXIS 28420, at 4 (D. Colo.

Mar. 9, 2015) (“Hawg Tools”). “The greater public good is plainly favored by the

avoidance of unnecessary expenditures of public and private resources on litigation;

the conservation of judicial, attorney, and party resources; and the quick, efficient,

and just resolution of all cases on the court's docket.” Id. citing Samuels v. Davis,

2015 U.S. Dist. LEXIS 5521, 2015 WL 232121 at 3 (D. Colo. Jan. 16, 2015).
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                                            Discussion

        I.     Potential Prejudice to the Non-Moving Parties

        There is no potential prejudice to the Plaintiff in this case by granting a stay,

 as is shown by Plaintiff’s agreement not to oppose this motion. iHeartMedia is no

 longer displaying the photograph at issue in any public forum and Colwell does not

 raise any claims for ongoing infringement or damages. In fact, staying these

 proceedings will allow Colwell and his attorneys to focus their attention to the other

 ongoing case in this district, Colwell v. Eleven Creative Services LLC, Civil Action

 No. 18-cv-2784-CMA-STV, the outcome of which will likely greatly influence their

 position in this matter.

        II.    Burden on iHeartMedia

       If this action is not stayed iHeartMedia will be forced to spend considerable

resources defending themselves against claims which may well be determined to be

moot by the ruling of another Court in this district. There is also a possibility of

inconsistent rulings if this case is not stayed, potentially having a negative effect on

the outcome of both cases if this one is not stayed.

        III.   Convenience of the Court

        Staying the proceedings in this action will not inconvenience the Court and is

 in the interest of judicial economy. The Plaintiff’s standing to bring the claims

 asserted will be directly impacted by the outcome of Mr. Colwell’s dispute with
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 11Creative. Further, there is a threat of inconsistent rulings should two courts in the

 district consider the same set of facts. Staying this action will prevent both parties

 and the Court from spending potentially unnecessary time and resources litigating

 this action. There is a high likelihood that the outcome of the 11Creative case may

 render this action moot altogether, and a stay will properly address this issue.

       IV. & V.   Interests of Non-Parties & The Public Interests

       The interests of non-parties and the public are the same in this case. Allocating

attorney, judicial and party resources appropriately is aligned with the public interest.

Cases should be adjudicated efficiently, and if the outcome of one case potentially

eliminates the need for another lawsuit on the court’s docket then the public interest is

served with “judicial patience” as Judge Blackburn eloquently noted in Hawg Tools

cited above.

                                           Conclusion

        The District Court has broad discretion to stay proceedings and the factors to

 be considered weigh heavily in favor of granting this Unopposed Motion to Stay

 Proceedings. Therefore, the Court should grant Defendant iHeartMedia’s Motion to

 Stay Proceedings in this action pending the outcome of Colwell v. Eleven Creative

 Services LLC, Civil Action No. 18-cv-2784-CMA-STV.


        DATED in Denver, Colorado this 19th day of July 2019.

                                          s/ Matthew Charles Williamson
                                          Matthew Charles Williamson
                                          Jessie Laura Pellant
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                              CERTIFICATE OF SERVICE

I hereby certify that on this 19th day of July 2019, I electronically filed the foregoing
UNOPPOSED MOTION TO STAY PROCEEDINGS with the Clerk of the Court using
the CM/ECF system which will send notification of such filing to the attorneys for all
parties.


                                         s/ Matthew Charles Williamson
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